     Case 2:13-cr-00066-SSV-KWR   Document 384    Filed 03/08/16   Page 1 of 7




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

UNITED STATES                                        CRIMINAL ACTION



VERSUS                                               NO: 13-66



WALTER PORTER                                        SECTION: R



                            ORDER AND REASONS

       Defendant Walter Porter moves the Court to permit him, under Federal

Rule of Evidence 609(b), to cross examine a Government witness about two

prior convictions, involving dishonest acts and false statements, that occurred

over ten years ago.1 The Government does not oppose the motion. For the

following reasons, the Court grants the motion.



I.     BACKGROUND

       Porter is charged with murdering Christopher Smith on November 21,

2010. Specifically, a second superseding indictment charges Porter with




       1
           R. Doc. 382-1.
      Case 2:13-cr-00066-SSV-KWR       Document 384       Filed 03/08/16    Page 2 of 7




committing murder-for-hire (Count 2) and causing death through a firearm

(Count 3), as well as conspiracy to possess firearms (Count 4).2

        According to Porter, the Government plans to call as a witness Milton

Keith Hamilton, an intimate associate of one of Porter's co-defendants,

Nemessis Bates. Porter anticipates that Hamilton will testify that Bates told

Hamilton that Bates hired someone to kill Christopher Smith. He also

anticipates that Hamilton will testify that he regularly saw Porter at Bates's

carwash following Christopher Smith's murder.3                   Porter contends that

Hamilton was convicted of credit card fraud in 1992 and unauthorized use of

an access device in 1996. According to Porter, these convictions are highly

probative because they suggest a pattern of dishonest behavior.



II.     LEGAL STANDARD

        Federal Rule of Evidence 609 governs impeachment by proof of a

witness's earlier criminal convictions. "The rule is premised on the belief that


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            R. Doc. 99.
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         Porter also submits that Hamilton will testify that Porter was one of two
individuals who broke into his residence, shot and injured him, and shot and killed his
life partner on June 11, 2011. That crime is not at issue in this case. And, as noted in a
previous order in this case, the Government has stated that it does not intend to
introduce evidence of the June 11, 2011 home invasion and shooting at trial. Thus, the
Court does not consider this portion of Porter's submission in evaluating his motion in
limine.

                                             2
   Case 2:13-cr-00066-SSV-KWR      Document 384    Filed 03/08/16   Page 3 of 7




a witness's criminal past is indicative of a dishonest character or a willingness

to flaunt the law." Steven Goode & Olin Guy Wellborn III, Courtroom

Handbook on Federal Evidence, 432 (2011). Rule 609(a)(2) provides that

evidence of a witness's prior criminal conviction "must be admitted if the court

can readily determine that establishing the elements of the crime required

proving--or the witness's admitting--a dishonest act or false statement."

Crimes involving dishonesty or false statement include perjury, criminal fraud,

embezzlement, or any other offense involving some element of deceit,

untruthfulness or falsification. Fed. R. Evid. 609, adv. comm. notes. But,

under Rule 609(b), "if more than 10 years have passed since the witness's

conviction or release from confinement for it, whichever is later," evidence of

the conviction is admissible only if: "(1) its probative value, supported by facts

and circumstances, substantially outweighs its prejudicial effect; and (2) the

proponent gives an adverse party reasonable written notice of the intent to use

it so that the party has a fair opportunity to contest its use." In the Fifth

Circuit, to admit evidence of prior convictions under Rule 609(b), the court

"must find that the probative value substantially outweighs the prejudicial

effect and base that finding on 'specific facts and circumstances.'" United

States v. Acosta, 763 F.2d 671, 695 (5th Cir. 1985) (quoting Fed. R. Evid.



                                        3
   Case 2:13-cr-00066-SSV-KWR       Document 384   Filed 03/08/16   Page 4 of 7




609(b)).    For convictions older than ten years, the general rule is

inadmissibility. United States v. Hamilton, 48 F.3d 149, 154 (5th Cir. 1995).

      In weighing the probative value versus any prejudicial effect of admitting

prior convictions under Rule 609(b), courts consider the following factors:

      (1) The nature [impeachment value] of the crime.

      (2) The time of conviction.

      (3) The similarity between the past crime and the charged crime.

      (4) The importance of [the witness's] testimony.

      (5) The centrality of the credibility testimony.

Id. at 695 n. 30 (quoting United States v. Hawley, 554 F.2d 50, 53 n. 5 (2d Cir.

1977)).



III. DISCUSSION

      As to the first factor, the impeachment value of the prior crimes, the

Fifth Circuit has held that "prior crimes involving deliberate and carefully

premeditated intent such as fraud and forgery are far more likely to have

probative value with respect to later acts than prior crimes involving a quickly

and spontaneously formed intent." United States v. Cohen, 544 F.2d 781, 785

(5th Cir. 1977) (quoting United States v. San Martin, 505 F.2d 918, 923 (5th

Cir. 1974)). "[S]uch crimes are more probative on the issue of propensity to

                                        4
   Case 2:13-cr-00066-SSV-KWR     Document 384     Filed 03/08/16   Page 5 of 7




lie under oath than more violent crimes which do not involve dishonesty." Id.

Here, Hamilton was convicted of credit card fraud and unauthorized use of an

access device. Porter represents that Hamilton obtained personal information

on various people, called their banks pretending to be those people, and

gained access to the victims' credit card information. Hamilton then changed

the victims' addresses for the credit cards and made cash advances on the

cards. Because Hamilton's prior convictions involve a calculated scheme of

fraud, the impeachment value of his prior crimes weighs in favor of admission.

See United States v. Moore, Cr. No. 12–283, 2013 WL 1345493, at *1 (D. Minn.

April 2, 2013) (admitting, under Rule 609(b), prior convictions for providing

false information to police and for offering a forged check as "highly probative"

to defendant's truthfulness).

      As to the second factor, the time of conviction, defendant represents that

the convictions occurred in 1992 and 1996. This factor weighs against

admission. See Hamilton, 48 F.3d at 154 (noting convictions older than ten

years are generally inadmissible).

      Where, as here, the defendant seeks to impeach a government witness,

the third factor--the similarity between the past crime and the charged crime--

is inapplicable.



                                       5
   Case 2:13-cr-00066-SSV-KWR          Document 384      Filed 03/08/16    Page 6 of 7




       As to the fourth and fifth factors--the importance of the witness's

testimony and the centrality of the credibility testimony--Porter represents

that Hamilton is an important witness for the Government because he will

testify that Bates hired someone to commit the murder-for-hire for which

Porter is charged in this case.4 Porter also asserts that Hamilton has changed

his story on several occasions, casting doubt on the accuracy of his testimony.

Because the jury essentially has to choose between one version of events

presented by the Government's witness and another version presented by the

defense, Hamilton's credibility is a critical factor in the jury's evaluation of his

testimony. When the crux of the case is a credibility issue, other courts have

recognized that evidence of prior convictions of government witnesses takes

on "special significance." United States v. Pritchard, 973 F.2d 905, 909 (11th

Cir. 1992); see also United States v. Brown, 603 F.2d 1022 (1st Cir. 1979).

Accordingly, the fourth and fifth factors weigh in favor of admission.

       Taken together, the Court finds that the probative value of Hamilton's

prior convictions substantially outweighs any prejudicial effect. In so holding,



       4
         Porter also submits that Hamilton will testify that Porter was one of two
individuals who broke into his residence, shot and injured him, and shot and killed his
life partner. That crime is not at issue in this case. And, as noted in a previous order in
this case, the Government has stated that it does not intend to introduce evidence of the
June 11, 2011 home invasion and shooting in its case-in-chief. Therefore, the Court does
not consider this aspect of Porter's submission in evaluating his motion in limine.

                                             6
   Case 2:13-cr-00066-SSV-KWR     Document 384     Filed 03/08/16   Page 7 of 7




the Court emphasizes that the prejudicial effect is limited because it is not the

defendant who will be impeached, see United States v. Thomas, 914 F.2d 139,

143 (8th Cir. 1990) (finding no abuse of discretion when the district court

"found that the risk of unfair prejudice was minimal because [the witness] was

not the defendant"), and the Court will provide a limiting instruction advising

the jury that it may only consider this evidence for impeachment purposes.

Further, the Government has identified no prejudice, and does not oppose the

use of the prior convictions for impeachment purposes. Accordingly, Porter's

motion is granted.



III. CONCLUSION

      For the foregoing reasons, the Court GRANTS Porter's motion.

           New Orleans, Louisiana, this ___day
                                        8th    of March, 2016.

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                            SARAH S. VANCE
                     UNITED STATES DISTRICT JUDGE




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